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1
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5
     Attorney for
6    OCTAVIO GALLEGOS-VASQUEZ

7
                            UNITED STATES DISTRICT COURT
8
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
9
     UNITED STATES OF AMERICA,                 No.0972 1:03CR05066-002AWI
10                                                0972 1:13CR00218-004AWI
               Plaintiff,                      STIPULATION TO CONTINUE
11                                             SENTENCING
                     v.
12                                             CURRENT SENTENCING HEARING:
     OCTAVIO GALLEGOS-VASQUEZ,                 11-21-2016 10:00 a.m.
13
               Defendant.                      SENTENCING HEARING:
14                                             1-9-17 10:00 a.m.

15        Arturo Hernandez-M, Defense Attorney for Defendant OCTAVIO
16   GALLEGOS-VASQUEZ and Plaintiff United States of America, by and
17   Through its counsel of record, the United States Attorney for the
18   Eastern District of California and Assistant United States Attorney
19   Kathleen Servatius, hereby stipulate as follows:
20        1.    Arturo Hernandez-M, Defense counsel for OCTAVIO GALLEGOS
21   VASQUEZ, hereby requests to continue this sentencing for four weeks
22   because counsel suffered an accident and broke four ribs .
23        2.    By this stipulation, defendant requests that the
24   sentencing hearing be continued from November 21, 2016, at 10:00
25   a.m., to January 9, 2017 at 10:00 a.m., or any date thereafter
26   convenient to the Court.     This continuance will allow defense
27   counsel to finalize his position papers and prepare for the
28   sentencing.
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1          3.    The government does not oppose defendants’ request for a

2    continuance.

3          IT IS SO STIPULATED.

4
     Dated: November 17, 2016
5                                       /s/   Kathleen Servatius
                                        KATHLEEN SERVATIUS
6                                       Assistant United States Attorneys
                                        Attorneys for Plaintiff
7                                       UNITED STATES OF AMERICA

8
     Dated: November 17, 2016           /s/ Arturo Hernandez-M
9                                       ARTURO HERNANDEZ-M
                                        Attorney for Defendant
10                                      OCTAVIO GALLEGOS-VASQUEZ
11

12

13
                                       ORDER
14

15         FOR GOOD CAUSE SHOWN, as set forth in the parties’ stipulation

16   and after review of the motion of Arturo Hernandez-M to Continue

17   Sentencing on behalf of his Client, OCTAVIO GALLEGOS VASQUEZ, said

18   Stipulation is hereby granted.

19

20         IT IS SO ORDERED that the sentencing in this matter be

21   continued from November 21, 2016 at 10:00 a.m. to January 9, 2017 at

22   10:00 a.m.

23

24   IT IS SO ORDERED.
25
     Dated: November 18, 2016
26                                    SENIOR DISTRICT JUDGE

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